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Case:17-03283-LTS Doc#:45 Filed:05/09/17 Entered:05/11/17 15:49:14   Desc: Main
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Case:17-03283-LTS Doc#:45 Filed:05/09/17 Entered:05/11/17 15:49:14   Desc: Main
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Case:17-03283-LTS Doc#:45 Filed:05/09/17 Entered:05/11/17 15:49:14   Desc: Main
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Case:17-03283-LTS Doc#:45 Filed:05/09/17 Entered:05/11/17 15:49:14   Desc: Main
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Case:17-03283-LTS Doc#:45 Filed:05/09/17 Entered:05/11/17 15:49:14   Desc: Main
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Case:17-03283-LTS Doc#:45 Filed:05/09/17 Entered:05/11/17 15:49:14   Desc: Main
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Case:17-03283-LTS Doc#:45 Filed:05/09/17 Entered:05/11/17 15:49:14   Desc: Main
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Case:17-03283-LTS Doc#:45 Filed:05/09/17 Entered:05/11/17 15:49:14   Desc: Main
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Case:17-03283-LTS Doc#:45 Filed:05/09/17 Entered:05/11/17 15:49:14   Desc: Main
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Case:17-03283-LTS Doc#:45 Filed:05/09/17 Entered:05/11/17 15:49:14   Desc: Main
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Case:17-03283-LTS Doc#:45 Filed:05/09/17 Entered:05/11/17 15:49:14   Desc: Main
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Case:17-03283-LTS Doc#:45 Filed:05/09/17 Entered:05/11/17 15:49:14   Desc: Main
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Case:17-03283-LTS Doc#:45 Filed:05/09/17 Entered:05/11/17 15:49:14   Desc: Main
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Case:17-03283-LTS Doc#:45 Filed:05/09/17 Entered:05/11/17 15:49:14   Desc: Main
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Case:17-03283-LTS Doc#:45 Filed:05/09/17 Entered:05/11/17 15:49:14   Desc: Main
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Case:17-03283-LTS Doc#:45 Filed:05/09/17 Entered:05/11/17 15:49:14   Desc: Main
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Case:17-03283-LTS Doc#:45 Filed:05/09/17 Entered:05/11/17 15:49:14   Desc: Main
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Case:17-03283-LTS Doc#:45 Filed:05/09/17 Entered:05/11/17 15:49:14   Desc: Main
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Case:17-03283-LTS Doc#:45 Filed:05/09/17 Entered:05/11/17 15:49:14   Desc: Main
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Case:17-03283-LTS Doc#:45 Filed:05/09/17 Entered:05/11/17 15:49:14   Desc: Main
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Case:17-03283-LTS Doc#:45 Filed:05/09/17 Entered:05/11/17 15:49:14   Desc: Main
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